






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00648-CR


NO. 03-09-00649-CR







Paul Michael Earls, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NOS. D-1-DC-09-201731 &amp; D-1-DC-09-203694


HONORABLE CHARLES F. BAIRD, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



In May 2009, appellant Paul Michael Earls was placed on community supervision for
five years after he was convicted on his plea of guilty to theft (cause number 201731).  See Tex.
Penal Code Ann. § 31.03(a), (e)(4)(A) (West Supp. 2010).  Two months later, appellant was indicted
for attempted burglary of a habitation (cause number 203694).  See id. §§ 15.01, 30.02 (West 2003). 
The State also moved to revoke appellant's probation, the attempted burglary being one of several
alleged violations.  In September 2009, a jury found appellant guilty of the attempted burglary and
assessed his punishment at fifteen years' imprisonment.  After imposing sentence in that case, the
trial court revoked appellant's probation in the theft case and sentenced him to two years in state jail,
with this sentence to begin after the fifteen-year sentence ceases to operate.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that these appeals are frivolous and without merit.  The brief meets the requirements
of Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
records demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate records and to file a pro se brief.  See
Anders, 386 U.S. at 744.  No pro se brief has been filed.

We have reviewed the records and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that the appeals are frivolous.  Counsel's motion to withdraw
is granted.

In cause number 03-09-00648-CR, the order revoking community supervision is
affirmed.  In cause number 03-09-00649-CR, the judgment of conviction is affirmed.


				

				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed

Filed:   December 15, 2010

Do Not Publish


